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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE

                                                                Civil No. 19-cv-00415-NT

JOHN DOE,                                 )
                                          )
                     Plaintiff            )
                                          )
              v.                          )
                                          )
UNIVERSITY OF MAINE                       )
SYSTEM and DAVID FIACCO,                  )
                                          )
                     Defendants           )


            PLAINTIFF’S NOTICE OF WITHDRAWAL OF MOTION

       Due to changes in circumstances that have occurred since the filing of Plaintiff’s

Complaint and Motion for Temporary Restraining Order and Preliminary Injunction,

Plaintiff John Doe provides this notice that he is withdrawing his Motion for Temporary

Restraining Order and Preliminary Injunction, without prejudice. At this time, Plaintiff

seeks neither temporary nor preliminary injunctive relief concerning his suspension from

the University of Maine at Farmington.

       This notice obviates the need for an evidentiary hearing on Plaintiff’s Motion as

previously scheduled for September 20, 2019. Counsel does not believe that oral

argument is necessary on Plaintiff’s other pending motion (Motion to Proceed Under

Alias and to Seal Certain Documents, ECF. No. 3), but will participate if the Court

believes that oral argument would be of assistance in resolving that motion.
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Dated: September 17, 2019.
                                          /s/ Richard L. O’Meara
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